                                                                  FILED IN OPEN COURi
                                                                  ON      ~\l£ :}-()\?:P-{
                                                                       Peter A. Moore, Jr., Clerk
                                                                       US District Court
                    UNITED STATES DISTRICT COURT      Ea5!emDiStnctotNc
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          EASTERN DIVISION

                                  4:20-CR-00121-1FL(3)
                              NO. _ _ _ _ _ __


UNITED STATES OF AMERICA              )
                                      )
            V.                        )        INDICTMENT
                                      )
ALEXANDER CHARLES PRIDGEN )


      The Grand Jury charges that:


      On or about May 31, 2020, in the Eastern District of North Carolina, the

defendant, ALEXANDER CHARLES PRIDGEN, willfully and by means of throwing

a brick or brick-like object through an exterior window, did injure and commit a

depredation against property of the United States and of any department or agency

thereof, specifically, the United States Bankruptcy Court Courthouse for the Eastern

District of North Carolina located at 150 Reade Circle, Greenville, North Carolina,

property which had been manufactured and constructed for the United States, and

any department or agency thereof, specifically an exterior window of the courthouse,




                             [Remainder of page left blank.]




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and the resulting damage was $1,5 16.97.

      All in violation of Title 18, United States Code, Section 1361.


                                               A TRUE BILL:




                                               DATE '      1

ROBERT J. HIGDON, JR.
United States Attorney

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BY: EVAN RIKHYE - - - ~__.....___...._
Assistant United States Attorney




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